246 F.2d 279
    George BEECHWOOD and Mary Winifred Beechwood, His Wife,v.EMERY TRANSPORTATION COMPANY andMidwest Transfer Company of Illinois, Appellants andLeaman Transportation Company, Inc.
    No. 12233.
    United States Court of Appeals Third Circuit.
    Argued June 14, 1957.
    Decided June 26, 1957.
    
      Albert C. Gekoski, Philadelphia, Pa., for appellant.
      Abraham E. Freedman, Philadelphia, Pa. (Freedman, Landy and Lorry, Philadelphia, Pa., on the brief), for appellees.
      Before MARIS, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal by the defendants from a judgment entered on a verdict for the plaintiffs, who are husband and wife, in a negligence action growing out of an automobile accident. The wife-plaintiff was seriously injured in the accident and the defendants do not deny that the negligence of their employees caused her injuries. They argue, however, that the trial judge erred in permitting the jury to consider whether a kidney operation performed upon her shortly after the accident and a thrombophlebitis of the leg which she suffered thereafter were so connected with the accident as to entitle the plaintiffs to have them considered in assessing the damages. The defendants urge that there was no competent evidence to support such a finding. We do not agree. On the contrary our examination of the record satisfies us that there was sufficient evidence to justify the action of the trial judge in submitting these questions to the jury.
    
    
      2
      The judgment of the district court will be affirmed.
    
    